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                                                            MICHELE M. GOLDSMITH (SBN 178222)
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                                                            Los Angeles, California 90024-4101
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                                                            Facsimile: 310.474.0931
                                                        5
                                                            Attorneys for Defendants, CITY OF INGLEWOOD
                                                        6   MAYOR JAMES BUTTS; CHIEF OF POLICE MARK FRONTEROTTA
                                                        7
                                                        8                                   UNITED STATES DISTRICT COURT
                                                        9            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                       10
                                                       11
                                                       12   MARTIN SISSAC                                         Case No. 2:15-cv-01741-JAK-FFM
Telephone: (310) 470-6110, Facsimile: (310) 474-0931




                                                       13                                 Plaintiffs,             DECLARATION OF MICAH HERD IN
                                                                                                                  SUPPORT OF MOTION FOR
       BERGMAN DACEY GOLDSMITH




                                                       14   v.                                                    SUMMARY JUDGMENT, OR, IN THE
           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




                                                                                                                  ALTERNATIVE, PARTIAL
                                                       15   CITY OF INGLEWOOD; MAYOR                              SUMMARY JUDGMENT
                                                            JAMES BUTTS; CHIEF OF
                                                       16   POLICE MARK FRONTEROTTA                               Date: September 26, 2016 [Reserved]
                                                            AND DOES 1 THROUGH 10,                                Time: 8:30 a.m.
                                                       17   INCLUSIVE,                                            Ctrm: 750
                                                       18                                Defendants.              [Filed Separately but concurrently herewith:
                                                                                                                   1. Motion For Summary Judgment;
                                                       19                                                          2. Separate Statement;
                                                                                                                   3. Declaration of Michele Goldsmith;
                                                       20                                                          4. Declaration of Cal Saunders; and
                                                                                                                   5. Declaration of Kevin Harris]
                                                       21
                                                                                                                  Trial: December 6, 2016
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                                                                                                                        DECLARATION OF MICAH HERD IN SUPPORT OF MSJ
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                                                        1                                    DECLARATION OF MICAH HERD
                                                        2            I, Micah Herd, declare:
                                                        3            1.       I am a resident of Los Angeles, California. If called as a witness in this
                                                        4   action, I could and would testify competently, under oath, from my own personal
                                                        5   knowledge, to each and all of the following facts.
                                                        6            2.       This Declaration is made in support of Defendants’ Motion for
                                                        7   Summary Judgment, or in the alternative, Partial Summary Judgment.
                                                        8            3.       I am employed with the City of Inglewood (“City”) as a Police Grants
                                                        9   Coordinator. The City hired me in this capacity in August 2007. In the capacity of a
                                                       10   Police Grants Coordinator, it is my responsibility to assist in the application,
                                                       11   processing, reporting, collecting reimbursements, monitoring responsibilities, and
                                                       12   closing out of various grants for the City. I am also familiar with and have been
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                                                       13   trained on the Federal Funding Accountability and Transparency Act of 2006
       BERGMAN DACEY GOLDSMITH




                                                       14   (FFATA). At any given time, I am handling between 8-12 grants. Plaintiff Martin
           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




                                                       15   Sissac was my supervisor and I reported to him while he was the Captain over of the
                                                       16   Office of Administrative Services for the Inglewood Police Department (“IPD”).
                                                       17            4.       Attached as Exhibit K is a true and correct copy of the July 28, 2009,
                                                       18   COPS Hiring Recovery Program (“CHRP”) grant award letter. I read the letter on or
                                                       19   near the time that the City received the letter.
                                                       20            5.       The CHRP grant is a reimbursement grant. However, the CHRP grant
                                                       21   was only a partial reimbursement of total costs for the hiring of officers. The CHRP
                                                       22   grant could be modified from its intended purpose by an approved request from the
                                                       23   DOJ. A manual was provided regarding applying for, maintaining and modifying the
                                                       24   grant. From 2009 to July 2011 the City did not take advance of the CHRP grant.
                                                       25   From 2009 to July 2011 the City did not take advantage of the CHRP grant because
                                                       26   of the drain on City general fund resources. I would submit a reimbursement request
                                                       27   to the Department of Justice (“DOJ”) for approved expenditures that were incurred in
                                                       28   a fiscal reporting period. I submitted the requests for reimbursement through the

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                                                                                                                      DECLARATION OF MICAH HERD IN SUPPORT OF MSJ
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                                                        1   DOJ CHRP electronic portal.
                                                        2            6.       In the Spring of 2011, the City was adamant of additional and necessary
                                                        3   layoffs. I had received a layoff notice myself. In meetings, it was discussed that
                                                        4   laying off police officers was not “ideal” but that the City needed to close the gap
                                                        5   between revenue and expenditures, and police salaries were a large expenditure.
                                                        6            7.       There were no General Funds available in the IPD budget for the
                                                        7   retention of the eight police officers to be laid off. I am personally aware that the
                                                        8   City Manager, Chief of Police and Mayor had extensive conversations with the DOJ
                                                        9   about CHRP.
                                                       10            8.       Attached as Exhibit L is a true and correct copy of the August 3, 2011
                                                       11   CHRP Award Modification Request, with attachments. I personally read the letter
                                                       12   and attachments, verified the letter, and electronically submitted the modification
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                                                       13   request through the DOJ portal.
       BERGMAN DACEY GOLDSMITH




                                                       14            9.       Attached as Exhibit M is a true and correct copy of the denial of the
           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




                                                       15   August 3, 2011 Modification Request Denial that was received by the City from the
                                                       16   DOJ. I read the letter on or near the time that the City received the letter. The
                                                       17   modification request denial’s rationale for rejection was specific. The DOJ stated
                                                       18   that “To be considered for a post-application modification …, an agency must
                                                       19   demonstrate that the officers … are officially scheduled for layoff on a specific date
                                                       20   as the result of financial reasons unrelated to the receipt of CHRP funding.”
                                                       21            10.      Attached as Exhibit N is a true and correct copy of the October 12,
                                                       22   2011, second modification request submitted by the City to the DOJ, with
                                                       23   attachments. I personally read the letter and attachments, verified the letter, and
                                                       24   electronically transmitted modification request through the DOJ portal.
                                                       25            11.      Attached as Exhibit O is a true and correct copy of the October 19,
                                                       26   2011, e-mail that I received from Chief of Police Jacqueline Seabrooks notifying
                                                       27   various City personnel that the DOJ had tentatively approved the modification
                                                       28   request.

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                                                        1            12.      On October 19, 2011, the DOJ approved the request for a grant award
                                                        2   modification. The DOJ notified the City that it approved the grant modification
                                                        3   request because, in part, (1) the layoffs could have occurred even in the absence of
                                                        4   the CHRP grant because of the local financial reasons as documented in the City’s
                                                        5   request; and (2) the City will use the CHRP funds only after the scheduled lay-off
                                                        6   date. Attached as Exhibit P is a true and correct copy of the October 19, 2011,
                                                        7   Approval Notification. Attached as Exhibit Q is a true and correct copy of the
                                                        8   November 9, 2011, DOJ grant letter of the CHRP modification request.
                                                        9            13.      I attended a course called “DOJ Financial Management Training” in
                                                       10   connection with DOJ grants. It was a 2-day course held in Sacramento on October
                                                       11   20-21, 2010.           The seminar is designed for people responsible for the financial
                                                       12   administration of formula and/or discretionary grants and cooperative agreements
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                                                       13   awarded from Federal grant-in-aid programs administered by DOJ and OJP Bureaus
       BERGMAN DACEY GOLDSMITH




                                                       14   and Offices. The seminar covered topics such as:
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           Los Angeles, California 90024




                                                       15            x     Application review process
                                                       16            x     Payment methods
                                                       17            x     Monitoring responsibility
                                                       18            x     Grant fraud awareness
                                                       19            x     Federal Funding Accountability and Transparency Act of 2006 (FFATA)
                                                       20            x     Grant closeout process

                                                       21            14.      I do not recall any time when Mr. Sissac complained about the City’s
                                                       22   use of the CHRP program being illegal.
                                                       23   //
                                                       24   //
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                                                                                                                      DECLARATION OF MICAH HERD IN SUPPORT OF MSJ
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                                                        1            15.      In February 2012, the City requested reimbursement from the CHRP
                                                        2   program, which was granted.
                                                        3            I declare under penalty of perjury under the laws of the United States that the
                                                        4   foregoing is true and correct. Executed at Los Angeles, California on August 28,
                                                        5   2016.
                                                        6                                                             ____________________________
                                                                                                                           Micah Herd
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Telephone: (310) 470-6110, Facsimile: (310) 474-0931




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       BERGMAN DACEY GOLDSMITH




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           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




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                                  EXHIBIT K                         COI_000890

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                                  EXHIBIT K                         COI_000891

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                                  EXHIBIT K                         COI_000892

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                                  EXHIBIT K                         COI_000893

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                                EXHIBIT K                        COI_000894

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                                EXHIBIT K                        COI_000895

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                                EXHIBIT L
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                                EXHIBIT L
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                                  #:695




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                                EXHIBIT L
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                                EXHIBIT L
                                                                       016
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                                  #:697




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                                EXHIBIT L
                                                                       017
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                                EXHIBIT L
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                                  #:699




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                                EXHIBIT L
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                                EXHIBIT L
                                                                       020
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                                  #:701




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                                EXHIBIT L
                                                                       021
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                                  #:702




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                                EXHIBIT L
                                                                       022
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                                  #:703




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                                EXHIBIT L
                                                                       023
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                                  #:704




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                                EXHIBIT L
                                                                       024
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                                  #:705




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                                EXHIBIT L
                                                                       025
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                                  #:706




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                                EXHIBIT L
                                                                       026
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                                  #:707




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                                EXHIBIT L
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                                  #:708




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                                EXHIBIT L
                                                                       028
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                                  #:709




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                                EXHIBIT L
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                                EXHIBIT L
                                                                       030
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                                EXHIBIT L
                                                                       031
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                                EXHIBIT L
                                                                       032
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                                EXHIBIT L
                                                                       033
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                                EXHIBIT L
                                                                       034
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                                                                 COI_001062
                                EXHIBIT L
                                                                       035
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                                EXHIBIT L
                                                                       036
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                                EXHIBIT L
                                                                       037
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                                EXHIBIT L
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